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                               SO ORDERED: September 13, 2019.




                               ______________________________
                               Robyn L. Moberly
                               United States Bankruptcy Judge




                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

    In re:
                                                            Chapter 11
                           1
    USA GYMNASTICS,
                                                            Case No. 18-9108-RLM-11
                           Debtor.



                      ORDER SHORTENING NOTICE ON DEBTOR’S
                     MOTION FOR AUTHORITY TO AMEND ORDER
              APPROVING COMMERCIAL CARD AGREEMENT WITH PNC BANK

             This matter came before the Court on the Motion To Shorten Notice (the “Motion”) on

Debtor’s Motion For Authority To Amend Order Approving Commercial Card Agreement With


1
 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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PNC Bank (the “Purchase Card Motion”) filed by USA Gymnastics (the “Debtor”) for an order

pursuant to Rule 9006(c) of the Federal Rules of Bankruptcy Procedure, Rule 9006-1(a) of the

Local Rules of the United States Bankruptcy Court for the Southern District of Indiana (the “Local

Rules”), and section III.F of the case management procedures appended to the Order Granting

Debtor’s Motion For Order Establishing Certain Notice, Case Management, And Administrative

Procedures [Dkt. 213] (the “Case Management Procedures”); and the Court finds that (i) it has

jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b); (ii) this matter is a core proceeding

within the meaning of 28 U.S.C. § 157(b)(2)(A); (iii) the relief requested in the Motion is in the

best interests of the Debtor, its estate, and creditors, and any party in interest; and after due

deliberation, and good and sufficient cause appearing therefore, the Court hereby determines the

Motion should be GRANTED.

       IT IS HEREBY ORDERED:

       1.      The Motion is granted.

       2.      The Debtor shall serve this Order and certify such service in accordance with the

Case Management Procedures and Local Rules 9006-1(d) and 9006-1(e).

       3.      The Purchase Card Motion is set to be heard at a hearing (the “Hearing”) to be

held on September 17, 2019 at 1:30 p.m. (prevailing Eastern time) in Room 329 of the United

States Bankruptcy Court, 46 East Ohio Street, Indianapolis, Indiana 46204.

       4.      A dial-in telephone number for interested parties to participate in the Hearing by

conference call is 1-888-273-3658, passcode: 9247462#. All callers shall keep their phones muted

unless addressing the Court. All callers must identify themselves and the party(ies) they represent

when addressing the Court. Callers shall not place their phones on hold during the Hearing.




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       5.     Any responses to the Purchase Card Motion must be in writing and filed with

the Clerk’s Office and served, via the Court’s ECF system, immediately prior the September

17, 2019 Hearing. In addition, telephonic notice of the filing of the objection shall be given to

the chambers of Chief Judge Moberly.

       6.     The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

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